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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION


     RYOKO CUNNINGHAM,

                   Petitioner,
                                                      Case No. 3:16-cv-1349-J-34JBT
     vs.

     TERRANCE CUNNINGHAM and
     GLENDA CUNNINGHAM,

                   Respondents.
                                               /


                                              ORDER


            THIS CAUSE comes before the Court on Respondents’ Motion for Clarification

     and/or Reconsideration Regarding Remote Testimony of Japanese Expert and

     Incorporated Memorandum of Law (Doc. 39; Motion), filed on December 30, 2016.

     Petitioner filed a response in opposition to the Motion on January 3, 2017. See Petitioner’s

     Objection to Respondents’ Motion for Clarification and/or Reconsideration Regarding

     Remote Testimony of Japanese Expert and Motion in Limine to Exclude Experts (Doc. 48;

     Response). The Court entered an Order (Doc. 32) on December 27, 2016, which, inter

     alia, granted Respondents leave to present the testimony of an expert on Japanese law by

     contemporaneous transmission from a remote location using the Court’s videoconference

     technology. See Order at 4. However, the Order stated, in pertinent part, that this witness

     must be sworn by a person authorized to administer oaths in the location where the witness

     is located, and that Respondents must arrange for the witness to testify from a court

     reporter’s office or other facility with videoconference equipment that is compatible with the
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     Court’s technology systems. See id. at 2-3. In the instant Motion, Respondents request

     relief from the requirement that an authorized person in the location where the witness is

     located administer the oath.1 See generally Motion. Upon review, the Court determines

     that the Motion is due to be granted.

             In consideration of Rule 44.1, Federal Rules of Civil Procedure (Rule(s)), and Article

     14 of The Convention on the Civil Aspects of International Child Abduction (“the Hague

     Convention”), Oct. 25, 1980, T.I.A.S. No. 11670, and because this witness will testify solely

     on the subject of Japanese law, the Court will permit the expert witness to testify remotely

     from Japan and be sworn by the courtroom deputy present in the courtroom here.

     However, it is incumbent on Respondents to determine whatever hardware or software is

     necessary to allow transmission of the testimony via the Court’s videoconference

     technology and ensure the witness’ access to this technology.                         Respondents are

     admonished that the Court will not delay the proceedings due to an inability to accomplish

     a viable remote connection with the witness. As such, Respondents should take whatever

     steps they deem appropriate to have an alternative method of presenting this evidence

     available.

             Finally, contemporaneously with her Response, Petitioner again moves for the

     exclusion of Respondents’ expert witnesses. See Response at 1. However, this request

     is denied without prejudice for the reasons expressed in the Court’s December 27, 2016

     Order. See Order at 4 & n.3. In light of the foregoing, it is


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       Respondents also seek clarification “that the expert in Japan may testify via videoconference from her law
     office in Tokyo as an appropriate ‘other facility.’” See Motion at 5. The Court’s prior Order stated that
     “Respondents must arrange for each witness to testify from a court reporter’s office or other facility with
     videoconference equipment that is compatible with the Court’s technology systems.” See Order at 2-3
     (emphasis added). Thus, to the extent that the witness’ law office is equipped with “videoconference
     equipment that is compatible with the Court’s technology systems,” and the Motion indicates that it will be,
     see Motion at 3, the witness may testify from that location in accordance with the Court’s prior Order.

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           ORDERED:

           1. Respondents’ Motion for Clarification and/or Reconsideration Regarding

              Remote Testimony of Japanese Expert and Incorporated Memorandum of Law

              (Doc. 39) is GRANTED to the extent set forth above, and otherwise denied.

           2. To the extent Petitioner moves for the exclusion of the expert witnesses in

              Petitioner’s Objection to Respondents’ Motion for Clarification and/or

              Reconsideration Regarding Remote Testimony of Japanese Expert and Motion

              in Limine to Exclude Experts (Doc. 48), this request is DENIED, without

              prejudice.    Petitioner may raise her objections to the relevance or

              cumulativeness of this testimony at the evidentiary hearing.

           DONE AND ORDERED in Jacksonville, Florida, this 3rd day of January, 2017.




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     Copies to:

     Counsel of Record
     J.T. Hedman




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